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              9      Attorneys for Plaintiffs
                     WHATSAPP INC. and FACEBOOK, INC.
            10
            11                                      UNITED STATES DISTRICT COURT

            12                                  NORTHERN DISTRICT OF CALIFORNIA

            13
            14       WHATSAPP INC., a Delaware corporation,         Case No. 3:19-cv-07123-JSC
                     and FACEBOOK, INC., a Delaware
            15       corporation,                                   NOTICE OF APPEARANCE OF JOSEPH D.
                                                                    MORNIN AS COUNSEL FOR PLAINTIFFS
            16                                                      WHATSAPP INC. AND FACEBOOK, INC.
                                      Plaintiffs,
            17
                            v.
            18
                     NSO GROUP TECHNOLOGIES LIMITED
            19       and Q CYBER TECHNOLOGIES LIMITED,

            20                        Defendants.

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  COOLEY LLP
                                                                          NOTICE OF APPEARANCE OF JOSEPH D. MORNIN
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                                1                        CASE NO. 3:19-CV-07123-JSC
                             Case 4:19-cv-07123-PJH Document 8 Filed 10/30/19 Page 2 of 2



              1              TO THE CLERK, ALL PARTIES, AND ALL COUNSEL OF RECORD:

              2              Plaintiffs WhatsApp Inc. and Facebook, Inc. notify the Court and all parties that Joseph D.

              3      Mornin of the law firm of Cooley LLP hereby appears as Plaintiffs’ counsel of record in this action.

              4      His is admitted to practice in California and before this Court. His address, telephone, facsimile and

              5      email address are as follows:

              6                             COOLEY LLP
                                            Joseph D. Mornin
              7                             101 California Street, 5th Floor
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              8                             Telephone:     (415) 693-2000
                                            Facsimile:     (415) 693-2222
              9                             E-mail:        jmornin@cooley.com
            10               Please serve said counsel with all pleadings, notices and other filings in this action.
            11

            12       Dated: October 29, 2019                         COOLEY LLP
            13
            14                                                       /s/ Joseph D. Mornin
                                                                     Joseph D. Mornin (307766)
            15
                                                                     Attorneys for Plaintiffs
            16                                                       WHATSAPP INC. and FACEBOOK, INC.
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  COOLEY LLP
                                                                                  NOTICE OF APPEARANCE OF JOSEPH D. MORNIN
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                                       2                         CASE NO. 3:19-CV-07123-JSC
